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4
                                  UNITED STATES DISTRICT COURT
5
                                WESTERN DISTRICT OF WASHINGTON
6                                               AT TACOMA
7
8    UNITED STATES OF AMERICA,                    )
                                                  )      No: CR-09-05875-RJB-1
9                                  Plaintiff,     )
                                                  )
10   vs.                                          )      ORDER GRANTING
                                                  )      SUBSTITUTION OF COUNSEL
11
     ROBERTO RAMOS, JR.,                          )
12                                                )
                                   Defendant.     )
13
14           BEFORE the court for resolution is the Defendant ROBERTO RAMOS, JR., Motion to

15   Substitute Retained Counsel, George Paul Trejo, Jr. of THE TREJO LAW FIRM, in lieu of his

16   present court appointed attorney of record. The Court having considered the submissions of the

17   Defendant, and the court file in the instant, hereby ORDERS.

18           The defendant’s Motion is GRANTED. GEORGE PAUL TREJO, JR. is substituted as

19   the attorney of record for the Defendant, ROBERTO RAMOS, JR.

20           It is so ordered this 24th day of March, 2010.

21
22
                                                         A
                                                         ROBERT J. BRYAN
23                                                       United States District Judge
24   PRESENTED BY:
25   THE TREJO LAW FIRM

26   s/George P. Trejo, Jr.
     GEORGE P. TREJO, JR.
27   Attorney for Defendant
28
     (PROPOSED)                                        - 1-                           GEORGE PAUL TREJO, JR.
                                                                                            TREJO LAW OFFICE
     ORDER GRANTING                                                               701 NO. 1ST STREET, SUITE 100
     SUBSTITUTION OF COUNSEL                                                                  YAKIMA WA 98901
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